           Case 2:10-cr-00416-JAM Document 30 Filed 05/03/11 Page 1 of 2


1    Robert M. Holley
     Attorney at Law
2    State Bar No. 50769
     331 J Street, Suite 200
3    Sacramento, California 95814
     Telephone: (916) 443-2213
4
     Counsel for JUAN JIMENEZ HERRERA
5
6
7
8
                        IN THE UNITED STATES DISTRICT COURT
9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )     CRS 2:10-CR-0416 JAM
12                                   )
                    Plaintiff,       )     STIPULATION AND
13                                   )     ORDER CONTINUING STATUS
          v.                         )     CONFERENCE
14                                   )
     JUAN JIMENEZ HERRERA,           )
15                                   )
                    Defendant.       )
16   _______________________________ )
17
18                               REASONS FOR REQUEST
19             This matter is resolved but the parties needed to change a
20   part of the agreement at the last minute.       So in order to give the
21   Court sufficient time to review the agreement before plea, the parties
22   are requesting that this matter be continued one week to Tuesday, May
23   10, 2011 at 9:30 a.m.    This request is for the continuance by
24   stipulation and order so that the Marshal’s need not bring Mr. Herrera
25   down from Butte for an unnecessary court appearance.
26                                    STIPULATION
27        For the reasons set forth above, it is hereby stipulated by and
28   between the parties hereto through their respective counsel that the
              Case 2:10-cr-00416-JAM Document 30 Filed 05/03/11 Page 2 of 2


1     date for status conference in this matter be continued from Tuesday,
2     from Tuesday, May 3, 2011 at 9:30 a.m. to Tuesday, May 10, 2011 at
3     9:30.
4          The parties further stipulate that all time included in this
5     continuance be excluded under the Speedy Trial Act, pursuant to 18
6     U.S.C. Section 3161(h)(8)(B)(ii)(Local Codes T2 and T4) through May 10,
7     2011, to give defense counsel further time to conference with his
8     client at the Butte County Jail, all pursuant to 18 U.S.C. Section
9     3161(h)(8)(B)(ii) and (iv)(Local Codes T2 and T4).
10
11         Dated: May 2, 2011
12                                 /s/ Mr. Michael D. Anderson, Esq. (by RMH)
                                   Assistant United States Attorney
13                                 Counsel the United States
14
                                   /s/ Mr. Robert M. Holley, Esq.
15                                 MR. ROBERT M. HOLLEY, Esq.
                                   Counsel for Mr. Herrera
16
17                                       ORDER
18
           GOOD CAUSE APPEARING, the above calendaring change with respect to
19
      the defendant’s scheduled status conference, with the stipulated
20
     provisions for exclusion of time under the Federal Speedy
21
     Trial Act IS SO ORDERED.
22
23
     Dated: May 2, 2011
24
25
                                        /s/ John A. Mendez
26                                      THE HONORABLE JOHN A. MENDEZ
                                        United States District Judge
27                                      for the Eastern District of California
28


                                              2
